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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




 UNITED STATES OF AMERICA                      )   CASE NO.1:05cr44-17
                                               )
                                   Plaintiff   )   JUDGE SOLOMON OLIVER, JR.
                                               )
                     vs.                       )
                                               )   ORDER ACCEPTING PLEA
 TIMOTHY DAVIS                                 )   AGREEMENT, JUDGMENT, AND
                                               )   REFERRAL TO U.S. PROBATION
                                   Defendant   )   OFFICE




           This case is before the Court on a Report and Recommendation filed by

United States Magistrate Judge Hemann regarding the change of plea hearing and plea

agreement of the above named defendant, which was referred to the Magistrate Judge

with the consent of the parties.

           On 2 February 2005, the government filed an indictment against the

defendant for conspiracy to possess with intent to distribute cocaine base in violation of

21 USC 846. Defendant was arraigned in February 2005, at which time the defendant

herein entered a plea of not guilty. On 7 October 2005, Magistrate Judge Hemann

received defendant’s plea of guilty and issued a Report and Recommendation (“R&R”)
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concerning whether the plea should be accepted and a finding of guilty entered.

Magistrate Judge Hemann filed her R&R on 7 October 2005.

           Neither party submitted objections to the Magistrate Judge's R&R in the ten

days after it was issued.

            On de novo review of the record, the Magistrate Judge's R&R is adopted.

The defendant is found to be competent to enter a plea and to understand his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

           Therefore, the defendant is adjudged guilty of Count 1 of the Superseding

Indictment in violation of 21 USC 846. This matter is referred to the U.S. Probation

Department for the completion of a pre-sentence investigation and report. Sentencing

will be on 14 December 2005 at 1:00 p.m. in Courtroom 17A.

           IT IS SO ORDERED.


                                                /s/ Solomon Oliver, Jr.
                                                UNITED STATES DISTRICT JUDGE




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